Case 2:04-cv-02928-.]DB-dkv Document 30 Filed 06/08/05 Page 1 of 6 Page|D 23

Fn.r;-r;) a‘-.-' Qé z>.c.
IN THE UNITED sTATEs DISTRICT COURT
FOR THE WESTERN DIsTRICT 0F TENNESSEE ,, §§ _ : c
WESTERN DIVISION 35 ~JLF~ 8 PH 2 ~6

         
 

 

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MAR'[`HA OWENS, as next friend of
IDA TAYLOR, deceased, and on

behalf cf the Wrongful death beneficiaries
of IDA TAYLOR,

Plaintiff,

v. NO. 2:04-cv-02928-JDB-dkv
KINDRED HEALTHCARE SERVlCES,
INC.; KINDRED HEALTHCARE
OPERATING, INC.; KINDRED
NURSING CENTERS LIMITED
PARTNERSHIP d/b/’a SPRlNG GATE
REHABILITATION AND

HEALTHCARE CENTER; RENEE B.
TUTOR, in her capacity as Adrninistrator
Of SPRTNG GATE REHABILITATION
AND HEALTHCARE CENTER',
DEBORAH ANNE HANSBROUGH,

in her capacity as Administrator of SPR]NG
GATE REHABILITATION AND
HEALTHCARE CENTER; and ANGELA
KAY MCCOLLOUGH, in her capacity

as Adrninistrator of SPRING GATE
REHABILITATION AND

I~IEALTHCARE CENTER,

Defendants.

\_/\_/\_/\_/\_/\./\./\./\./WW\_/V\_/W\_/\_/\_/\_/\_/\_/\_/\._/\../\.,/\.,/\'/\_,/\_/

ORDER GRANTING DEFENDANTS' MOTION FOR ADDITIONAL TIME TO
RESP()ND TO PLAINTIFF'S FIRST SET OF INTERROGATORIES AND FIRST
REQUESTS TO PRODUCE

On Motion Of Defendants, and for good cause shown, it is hereby,

ORDERED, A])JUDGED AND DECREED that Defendants' Motion for Additional Time to

Respond to Plaintiff‘s First Set of lnterrogatories and First Requests to Produce is GRANTED."

  

This document entered on the docket ah -‘~. m

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0345:)._00/045s/c/\D-ooc)@:>.z_1v ' ' ‘“`9 58 and/or 79(8) FHCP on

  

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Defendants are, therefore, entitled to an additional forty-five (45) days from the date Plaintiff

mailed her First Set of Interrogatories and First Request to Produce to respond to Plaintift`s

written discovery demands

ENTERED this jday of § 4 £M g , 2005.
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Respectfully submitted,

CHAMBLISS, BAI~INER & STOPHEL, P.C.

`:>:¢/’é (f iz/Ar ~/M§»L_

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CERTIFICATE OF SERVICE
I, the undersigned attorney, do hereby certify that the foregoing document has been
delivered to all counsel for parties in this cause by placing a true and correct copy of same in the
United States mail, postage prepaid, in a properly addressed envelope as follows:
Carneron C. Jehl, Esq.
Wilkes & McHugh, P.A.

425 W. Capitol Avenue, Suite 2500
Little Rock, Arkansas 72201

ring g day of `_5:~&~ ,2005.

/F"

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CV-02928 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

